      Case 1:17-cv-02989-AT Document 1629-15
                                     1569-44 Filed 02/13/23
                                                   01/09/23 Page 1 of 91




             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                             )
DONNA CURLING, et al.                        )
                                             )
Plaintiff,                                   )
                                             ) CIVIL ACTION FILE NO.:
vs.                                          ) 1:17-cv-2989-AT
                                             )
BRAD RAFFENSPERGER, et al.                   )
                                             )
Defendant.                                   )
                                             )
                                             )



                   DECLARATION OF PHILIP B. STARK

        PHILIP B. STARK hereby declares as follows:

  This statement supplements my declarations of September 9, 2018; September

  30, 2018; October 22, 2019; December 16, 2019; August 23, 2020; August 31,

  2020; September 13, 2020; August 2, 2021; and January 11, 2022 (augmented

  March 9, 2022). I stand by everything in my previous declarations and

  incorporate them by reference.



  The Coffee County Security Breach

      1. I attended (virtually) the video depositions of Cathy Latham (8 August

         2022), SullivanStrickler corporate representative Dean Felicetti (2

         September 2022), former Coffee County Election Supervisor Misty
                                                                               Exhibit
                                                                                0002
     Case 1:17-cv-02989-AT Document 1629-15
                                    1569-44 Filed 02/13/23
                                                  01/09/23 Page 2 of 91




       Hampton (11 November 2022), Cyber Ninjas CEO Doug Logan (18

       November 2022), Jeffrey Lenberg (21 November 2022), and Alex Cruce

       (22 November 2022).

    2. I understand from their testimony and documents I reviewed that a

       number of unauthorized parties had physical access to many, if not all,

       components of the voting system in Coffee County in early 2021. Those

       parties had enough access to corrupt the installed software or implant

       malware on the devices. Moreover, I understand that SullivanStrickler

       copied all the digital information from (“imaged”) the drives of many

       pieces of equipment and posted the images to a ShareFile site online. I

       understand that an unknown number of individuals downloaded the

       images, and that those images might subsequently have been shared with

       other individuals.

    3. The 22 November 2022 declaration of Prof. J. Alex Halderman explains

       that the information gleaned through unauthorized access included

       passwords, among other things. That declaration also explains some ways

       in which the design of that software is poor from a cybersecurity

       standpoint, and how the information obtained could be used to undermine

       Georgia’s elections, not only in Coffee County, but across the state.

The Ability of Audits to Detect and Correct Erroneous Outcomes



2
     Case 1:17-cv-02989-AT Document 1629-15
                                    1569-44 Filed 02/13/23
                                                  01/09/23 Page 3 of 91




     4. Audits cannot remedy the statewide security problems that were created or

        exacerbated by the Coffee County breach, for a variety of reasons. The

        2022 so-called “risk-limiting audit” did not protect Georgia’s recent

        election from possible consequences of the breach.

     5. First, as I have previously testified, no audit can reliably determine

        whether ballot-marking devices (BMDs) altered enough votes to change

        who appeared to win. In Georgia, a genuine risk-limiting audit is not

        currently possible, in part because Georgia’s heavy reliance on BMDs.

     6. Moreover, even if Georgia exclusively used hand-marked paper ballots,

        Georgia elections lack the physical accounting controls on voted ballots

        needed to ensure that every validly cast ballot—and no other—is included

        in the tabulation and in the universe of ballot cards from which the audit

        draws its sample. Thus, any audit that Georgia might perform cannot

        protect against the possibility that the Coffee County breach resulted in

        changed election outcomes, in Coffee County or other counties.

     7. There was an audit that started on 17 November 2022 of the 2022

        midterm contest for Secretary of State, described as a “risk-limiting audit”

        (RLA).1



1
 See https://sos.ga.gov/news/georgias-2022-statewide-risk-limiting-audit-
confirms-results (last visited 26 November 2022)

3
     Case 1:17-cv-02989-AT Document 1629-15
                                    1569-44 Filed 02/13/23
                                                  01/09/23 Page 4 of 91




     8. While I have not had adequate time to digest the details nor to search

        exhaustively, it is clear from the available information that this audit was

        not a genuine RLA, nor an effective audit, for a variety of reasons,

        including but not limited to the following.

     9. The underlying paper trail was not a trustworthy record of voters’

        selections, in part because of the heavy reliance on BMDs for in-person

        voters (advanced and election-day).

     10. To the best of my knowledge, there was no mandatory ballot accounting,

        pollbook reconciliation, eligibility auditing, chain-of-custody checks, or

        other measures to ensure that the paper trail was complete and intact.

     11. Risk-limiting audits require a ballot manifest that describes how many

        ballots there are and how they are stored: the number of containers, the

        identifier of each container, and the number of ballot cards in each

        container. The ballot manifest is used to select the ballots to inspect

        manually during the audit. It should be constructed using physical

        inventories of ballots. Instead, Georgia’s audit procedure trusted the

        voting system2 to correctly report how many ballots there were in all, and


2
 The manifest for each county was constructed by exporting cast-vote records
(CVRs) from the voting system, then processing those CVRs with the Arlo
software. See Appendix 1, “Summary of Steps to Complete in Arlo to Prepare for
Audit,” which I understand was sent to Georgia election officials by Blake


4
     Case 1:17-cv-02989-AT Document 1629-15
                                    1569-44 Filed 02/13/23
                                                  01/09/23 Page 5 of 91




        how many there were in each “batch.” That is not how to conduct an

        RLA. To see why this is an issue, the voting system could simply fail to

        report results for one or more batches. Then the ballot manifest will not

        contain those batches, so sampling batches at random from the manifest

        cannot discover that ballots were omitted from the tabulation: the audit

        would have no chance of discovering the problem, even if those batches

        changed the outcome. The double and triple inclusion of some ballots in

        the tabulation by some Georgia counties in 2020 (described in my report

        dated 9 March 2022 at ¶58–83) shows that the electronic records are not

        reliable and that at least some Georgia counties do not maintain an

        accurate physical accounting of voted ballots and/or memory cards.

        Moreover, malware could cause the voting system to omit (or add) cast-

        vote records (“CVRs”), so the number of CVRs might not equal the

        number of validly cast ballots. Scanner jams and other problems can also

        result in omitting or adding CVRs. CVRs are not a reliable basis for

        constructing a ballot manifest. The audit improperly trusted the voting

        system for crucial information that—if incorrect—would undermine the

        ability of the audit to detect and correct erroneous election outcomes.


Edwards on 14 November 2022. The document was provided to me by Marilyn
Marks of Coalition for Good Governance, who I understand obtained it through an
open records request.

5
     Case 1:17-cv-02989-AT Document 1629-15
                                    1569-44 Filed 02/13/23
                                                  01/09/23 Page 6 of 91




     12. The fact that on or about 16 November 2022 it was discovered that a

        memory card from the November 2022 election in Cobb County had not

        been uploaded to the voting system3 is additional confirmation that

        Georgia lacks adequate procedures for keeping track of election materials,

        and that the voting system’s exported CVRs cannot be relied upon to

        construct the ballot manifest.

     13. The audit instructions leave the treatment of discrepancies between the

        number of ballots according to the manifest and the number of ballots the

        auditors find in the audited batches up to the election official, allowing

        them to ignore or investigate discrepancies.4 That is not a proper way to

        conduct an RLA. Discrepancies between the reported and actual number

        of ballots need to be taken into account in calculating the risk and

        determining whether and when the audit can stop short of a full hand

        count.

     14. An email from VotingWorks to local election officials dated 17 November

        2022 says that the Arlo software calculates the number of non-votes, so



3
  See https://cobbcountycourier.com/2022/11/breaking-story-memory-card-not-
uploaded-in-cobb-election-results-lynette-burnette-winner-of-kennesaw-post-1-
city-council-seat/ (last visited 5 December 2022).
4
  See Appendix 2, “Risk Limiting Audits” slide deck dated 13 October 2022, at 34.
This document was provided to me by Marilyn Marks of Coalition for Good
Governance, who I understand obtained it through an open records request.

6
     Case 1:17-cv-02989-AT Document 1629-15
                                    1569-44 Filed 02/13/23
                                                  01/09/23 Page 7 of 91




        they do not need to be tabulated and entered.5 That is a poor choice,

        because it means that the Arlo software cannot detect or account for errors

        in the ballot manifest in determining whether the risk limit has been met

        or whether the outcome is correct.

     15. The Secretary of State arbitrarily attributed vote discrepancies in the audit

        “largely” to manual errors in the audit. According to a press release from

        Secretary Raffensperger dated 18 November 2022, “[t]his small amount of

        difference is well within the expected margin of error for an audit of this

        size, and it is largely caused by human error during the hand counting

        process.”6 But no evidence has been provided to support the claim that the

        discrepancies are “largely” due to error in the hand count and not to error

        in the machine count. Moreover, Secretary Raffensperger’s statement

        reveals a misunderstanding of how RLAs work: in an RLA, the (carefully

        performed) manual tabulation is considered ground truth and

        discrepancies are attributed entirely to error in the machine count. The

        audit’s manual tallies must be conducted with adequate care and attention

        to ensure they are trustworthy, and any discrepancy should be investigated


5
  See Appendix 3, Email from Virginia Vander Roest of VotingWorks. This
document was provided to me by Marilyn Marks of Coalition for Good
Governance, who I understand obtained it through an open records request.
6
  See https://sos.ga.gov/news/georgias-2022-statewide-risk-limiting-audit-
confirms-results (last visited 5 December 2022)

7
    Case 1:17-cv-02989-AT Document 1629-15
                                   1569-44 Filed 02/13/23
                                                 01/09/23 Page 8 of 91




       to confirm that the manual tally is indeed correct. Blindly assuming that

       any discrepancies are due to errors in the hand count undermines the

       entire purpose of the audit.

    16. According to the same press release by Secretary Raffensperger, “[t]his

       audit shows that our system works and that our county election officials

       conducted a secure, accurate election.” All these claims are false: the audit

       did not check whether the system “worked”; it did not check whether the

       election was secure; and it did not check whether the results were

       accurate. It merely checked the tabulation of some batches. It did not

       check whether BMDs functioned correctly, whether all validly cast ballots

       were included in the tally, or whether the tabulation was accurate, for

       instance.

    17. The audit was allegedly a “batch-comparison” risk-limiting audit. The

       Arlo documentation says that the method it implements for batch-

       comparison RLAs is a method I invented in 2007 and published in 2008.

       That method contains a number of parameters the auditors can select.

       Those parameters affect the initial sample size and the conditions under

       which the audit can stop without a full hand count. To the best of my

       knowledge, Georgia has not made public the particular choices of those

       parameters used in that audit. Hence, it is impossible for the public to



8
        Case 1:17-cv-02989-AT Document 1629-15
                                       1569-44 Filed 02/13/23
                                                     01/09/23 Page 9 of 91




          determine whether the initial sample size was set correctly or whether the

          audit stopped appropriately.

       18. For an audit to provide public evidence that the reported outcome of the

          Secretary of State contest is correct, the public needs (among other

          things):

              a. A trustworthy ballot manifest based on physical accounting of

                 validly cast ballots. This was never constructed. Instead, as

                 decribed above, the audit relied on a ballot manifest constructed

                 from electronic voting machine records (using Arlo)7 by assuming

                 that every validly cast ballot had a corresponding CVR in the data

                 exported from the voting system. That is, the audit assumed that

                 every validly cast ballot was scanned and included exactly once

                 and assumed that the voting system functioned properly. The audit

                 is supposed to check whether every validly cast ballot had been

                 included exactly once in the tally and check whether the voting

                 system misbehaved in a way that changed who appeared to win.

              b. The reported batch subtotals for the audit. These were provided at

                 https://sos.ga.gov/news/georgias-2022-statewide-risk-limiting-

                 audit-confirms-results, but the batches included are only those that


7
    See Appendix 1.

9
     Case 1:17-cv-02989-AT Document 1629-15
                                    1569-44 Filed 02/13/23
                                                  01/09/23 Page 10 of 91




               are listed in the (untrustworthy) manifest derived from the same

               electronic records exported from the voting system. Thus, the

               public has no reason to believe the list of batch subtotals is

               complete. As mentioned above, the failure to scan one or more

               batches or to upload the scans of one or more batches would not be

               discovered by the audit, even if the votes in those batches would

               change the electoral outcome.

            c. The CVRs exported from the Dominion system, used as input to

               Arlo. These were not provided by the Secretary of State’s office,

               but I understand they might be available through open records

               requests.

            d. The software settings for Arlo. To the best of my knowledge, these

               were not provided to county election officials, the monitors, the

               press, or the public. Knowing the settings is important for many

               reasons. One is that the Secretary had each county audit two types

               of batches, one consisting of hand-marked ballots and the other of

               BMD printout.8 That constraint complicates how the sample is


8
 Press conference with Secretary Brad Raffensperger and Director Blake Evans,
14 November 2022. https://www.gpb.org/news/2022/11/17/georgia-counties-
conduct-audit-of-secretary-of-state-race (last visited 5 December 2022) In the same
press conference, Director Evans makes a number of unfounded claims, including


10
     Case 1:17-cv-02989-AT Document 1629-15
                                    1569-44 Filed 02/13/23
                                                  01/09/23 Page 11 of 91




                drawn, how the initial sample size is calculated, and how the risk is

                measured from the sample. There are important technical issues

                involved; mistakes could undermine the ability of the audit to limit

                the risk.

            e. Adequate observation of the manual tally to be able to determine

                (i) whether the correct batches were retrieved for audit and (ii)

                whether the manual tallies of the votes in those batches were

                correct. I understand that the public was kept so far from the audit

                activities in some counties that they could not observe those

                things.9 Indeed, in Gwinnett County, observers (and auditors)

                failed to notice a process failure that resulted in an error of 20

                votes in the hand tally. (It is noteworthy that the Secretary of State

                mandated using the “sort-and-stack” approach to counting votes

                rather than the “call-and-tally” approach, which is both easier to


the claim (in advance of the audit!) that the audit will show that the results are
correct and that any discrepancies will be due to errors in the manual count rather
than errors in the electronic counts, again turning RLAs inside out. An RLA
assumes that the hand count is conducted carefully enough to be the reliable
touchstone and attributes all discrepancies to the machine count. And an RLA does
not show that the results are correct: it checks whether the outcomes are correct,
and (with high probability) corrects them if not.
9
  See Appendix 4, Declaration of Aileen Nakamura, and Appendix 5, Declaration
of B. Joy Watson. They were unable to see the faces of the ballots during the audit
and thus unable to determine whether the hand count was conducted properly.
They were also unable to see the data entry into Arlo.

11
       Case 1:17-cv-02989-AT Document 1629-15
                                      1569-44 Filed 02/13/23
                                                    01/09/23 Page 12 of 91




                  observe and—according to references the Secretary has previously

                  cited for authority—more accurate.10)

               f. Adequate observation of the data input to Arlo to determine

                  whether the hand-count totals were entered correctly and whether

                  the audit stopped appropriately. To the best of my knowledge, the

                  public currently lacks the information required to tell. Per the

                  declaration of Aileen Nakamura dated 5 December 2022

                  (Appendix 4), the data entry into Arlo was not visible to the public

                  in Gwinnett County. Per the declaration of B. Joy Watson dated 5

                  December 2022 (Appendix 5), the data entry into Arlo was not

                  visible to the public in Fulton County. There was a substantial

                  problem with inaccurate data entry into Arlo in the 2020 so-called

                  risk-limiting audit.11

        19. Even if there had been a trustworthy paper trail—which Georgia’s

           elections lack—and even if the so-called RLA had been a genuine RLA—

           which it was not—an audit of a single contest (e.g. the Secretary of State

           contest) provides no evidence that any other contest was decided

           correctly.



10
     See ¶56 of my declaration of 9 March 2022.
11
     See ¶32–45 of my declaration of 9 March 2022.

12
     Case 1:17-cv-02989-AT Document 1629-15
                                    1569-44 Filed 02/13/23
                                                  01/09/23 Page 13 of 91




     20. The Secretary of State’s office has made a number of incorrect or

         misleading claims about what the audit could accomplish. For instance,

         state election director Blake Evans claimed: “The audit will, with

         statistical confidence, show that the outcome of the election was correct. It

         will also show that the machines that tabulated the votes worked

         properly.”12 The audit shows neither, but even if it showed the latter, no

         audit in Georgia can show the former until and unless Georgia reduces its

         reliance on BMDs, performs a more rigorous canvass, tracks chain of

         custody more seriously, and accounts for voted ballots physically.

     21. I understand that an “optional” RLA is planned for the U.S. Senate runoff

         election.13

     22. It is impossible to conduct an RLA of a statewide contest unless every

         county participates. More generally, it is impossible to conduct an RLA of

         any contest that crosses jurisdictional boundaries unless every jurisdiction

         in which votes were validly cast in the contest participates.14



12
   See https://www.gpb.org/news/2022/11/17/georgia-counties-conduct-audit-of-
secretary-of-state-race (last visited 5 December 2022)
13
   Email from Blake Evans, Georgia Elections Director, dated 1 December 2022,
attached hereto as Appendix 6. This document was provided to me by Marilyn
Marks of Coalition for Good Governance, who I understand obtained it through an
open records request.
14
   I am ignoring “edge cases,” such as the possibility that so few votes were cast in
some county that those votes cannot change the overall outcome of the contest.

13
        Case 1:17-cv-02989-AT Document 1629-15
                                       1569-44 Filed 02/13/23
                                                     01/09/23 Page 14 of 91




        The DVSOrder Privacy Vulnerability

        23. For an audit to justify public trust in election outcomes, it must provide

           adequate transparency and public observation, including key inputs. Flaws

           in the design of the Dominion ICP (precinct scanner) software that can

           infringe voters’ rights to a secret ballot conflict with the public’s need to

           see key inputs to the audit of the 2022 midterm election, which relied on

           CVRs to construct the ballot manifest. Thus, the need to provide the

           public crucial information about the audit is in tension with voters’ right

           to a private ballot.

        24. Prof. J. Alex Halderman and several of his collaborators discovered (using

           public documents) that the “random” identifier for cast-vote records in

           Dominion ICP and ICE scanners was generated in a completely

           predictable way, aside from a “starting value” that could be determined

           from the CVRs themselves.15 They explain how the predictability of the

           “RecordID” can be used to compromise voter privacy in practice. This

           privacy vulnerability is called “DVSOrder.”

        25. I received the CVR exports from the Dominion systems in two Georgia

           counties, Coffee and Heard, from Marilyn Marks of Coalition for Good




15
     See https://dvsorder.org/ (last visited 30 November 2022).

14
     Case 1:17-cv-02989-AT Document 1629-15
                                    1569-44 Filed 02/13/23
                                                  01/09/23 Page 15 of 91




        Governance; I understand she obtained them through open records

        requests.

     26. I used those exports to test whether the DVSOrder vulnerability occurred

        in those counties in the current election. I was able to confirm that the

        identifiers assigned to CVRs for each tabulator were a contiguous block of

        numbers from the sequence identified in the Halderman et al. work, cross-

        checking their findings. The software I wrote for that purpose is in

        Appendix 7.

     27. Thus, for example, I can say that the first person whose vote was tabulated

        on tabulator 10 in Coffee County voted for Chase Oliver for Senator. The

        second, third, fourth, and fifth voted for Herschel Walker. The sixth voted

        for Raphael Warnock. Etc.

     28. As described in the DVSOrder disclosure, that information can be used to

        determine individual voters’ selections by combining it with polling place

        observations of the sequence of voters scanning their ballots by

        pollworkers, other voters, pollwatchers, or people reviewing surveillance

        video, or by observing the value of the scanner counter before or after a

        given voter scanned their ballot.

     29. Thus, Georgia’s current procedures concerning the release of “raw” CVRs

        as part of the audit process seriously compromise voter privacy.



15
         DVSOrder.org describes simple, inexpensive steps that could be taken to
         close this privacy vulnerability without losing any information relevant to
         the trustworthiness of election results.
Supplementation
     30. I may supplement this report, for instance, if more information about the
         audit of the Secretary of State contest or of the U.S. Senate runoff contest
         becomes available.
I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that the
foregoing is true and correct.
      Executed on this date, 5 December 2022,
                                        _______________________________
                                               Philip B. Stark
16
                                                  01/09/23 Page 16 of 91
                                    1569-44 Filed 02/13/23
     Case 1:17-cv-02989-AT Document 1629-15
Case 1:17-cv-02989-AT Document 1629-15
                               1569-44 Filed 02/13/23
                                             01/09/23 Page 17 of 91




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      Case 1:17-cv-02989-AT Document 1629-15
                                     1569-44 Filed 02/13/23
                                                   01/09/23 Page 18 of 91




   Summary of Steps to Complete in Ario to Prepare for Audit


Please note that all counties should review the October 13 th RLA training, which can be found on
Firefly at this location: Webinars > 2022 Webinars > 10.13.2022 RLAAudit Training.

Steps:

   1. Sign up for your Ario account.
           a. Your county office can have 2 Ario administrator accounts. Those administrator
               accounts will be able to create accounts for additional users in your office. Only
              the .2 administrators will be able to complete submission to the Secretary of
               State at the end of the audit. If you have not already, complete the following
               survey to indtcate who in your office should have ad min credentials:


   2. As soon as you certify your results at the county level, generate your Cast
       Vote Records and Tabulator Status Reports.
           a. For instructions on how to generate these reports, review Appendix A.
   3. Upload your Cast Vote Records and Tabulator Status Reports into Ario.
           a. For instructions on how to upload these reports, review pages 1 and 2 of
              Appendix B.
   4. Download your Batch Inventory Worksheet and verify the ballot counts in
       the worksheet. Once you have verified the numbers, confirm that you
       have completed the worksheet by checking the appropriate box in Ario.
       Then hit "Continue."
           a. Review pages 2 and 3 of Appendix B for more information.
   5. Based on the data you provide, Ario will generate 2 files: 1. Ballot
       Manifest; and 2. Candidate Totals by Batch. Download both files, and save
       them so you can easily accessthe files.
           a. Review page 4 of Appendix B for more information.
   6. After you click, "Return to Audit Source Data," scroll down to the Ballot
      Manifest and Candidate Totals by Batch sections. Upload the Ballot
      Manifest file that you just saved, and then upload the Candidate Totals by
      Batch file that you just saved.
   7. Wait for your random batch selections to appear in Ario. These should
      appear in the evening on Wednesday, November 16th after the Secretary
      of State kicks off the audit.
   8. All counties will begin the audit on Thursday, November 17th •
                                 Case 1:17-cv-02989-AT Document 1629-15
                                                                1569-44 Filed 02/13/23
                                                                              01/09/23 Page 19 of 91




_LOT INVENTORY TOOL
AT YOU WILL GENERATE
                                                               APPENDIX A - PAGE 1 C
ast Vote Records
   This report lists every ballot scanned during the entire election along with how
   the voting system recorded the voter's selections.
   You will check the tabular format option in order to export the file as a CSV.
   This is the same as the file type that you generate in response to Open Records
   Requests.
3bulator Status Report
   This report lists every tabulator contained in your database along with how many
   ballots were recorded by that tabulator.
   Any tabulators with uploaded results will have a "Load Status" of 1.
   Any tabulators with a "Load Status" of O either were not uploaded or were never
   downloaded and used.
    • Remember that it is up to you to ensure that all your votes have been
        uploaded to the RTR System - the system will not check that for you.

3EORGIA SECRETARY OF STATE I ELECTIONS DIVISION
                                                                              1569-44 Filed 02/13/23
                                               Case 1:17-cv-02989-AT Document 1629-15       01/09/23 Page 20 of 91




_LOT INVENTORY TOOL   APPENDIX                                                                                                      A - PAGE 2 0
\JERATE CAST VOTE RECORD AS CSV
om the RTR Menu Bar, Select Actions -> Export -> CVR Export
1eck the "Use tabular format" option
ick "Export"
Jopup will appear to confirm that the Cast Vote Records have been exported.
ick Close.

Jh:5   Tally and Reporting


                                                                                          ...., CVRExport                              -   □   X

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                                  Case 1:17-cv-02989-AT Document 1629-15
                                                                 1569-44 Filed 02/13/23
                                                                               01/09/23 Page 21 of 91




_LOT INVENTORY TOOL   APPENDIX                                                                                                A - PAGE 3 C
\JERATE TABULATOR STATUS REPORT
~lect"Basic"from the Reports sectionof the left-hand menu in the RTR.
?lect"TabulatorStatus"from the Report Name drop down menu.
ick "Create Report"
::>opupwill appear to confirmthat the Requested Reports have been created.


                                  Report Group - Basic
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                                                                                  Type:           <~Any Di ·isior,> -_.____           -       Report Name:             Tabulator Srab.Js
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                                                                                                                                                           Name: Contest Overview Dara
                                                                                                                                                                       locate Scanned Ballots
                                   PolingLocation: , < All >           -        District:         , i\i!:,                            •                           .    Results per Tabulator
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                                   Contests:         ....._ ______   ___,·      Wimer Margin:                     I votes or less             @ Resultsare lho        • Canvass
                                                                                                                                                                        Write ins per Tabulator
                                                                                                                                                                        Registration and Turnout
                                   Report Title;                                                                                       0     Standard Tttle
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                                   -Q   Create Report




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                                                       Document 1629-15
                                                                1569-44 Filed
                                                                        Filed 02/13/23
                                                                              01/09/23 Page
                                                                                       Page 22
                                                                                            22 of
                                                                                               of 91
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_LOT INVENTORY TOOL                                                 APPENDIX A - PAGE 4 0
PY CVR TO USB DRIVE
1vigate to the current election directory in your NAS folder.
)en the Results folder.
>PYthe CVR_Export file to a USB Drive.


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                                9/19/2022 14:25       File folder    Name                              Date modified
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                                9/19/2022 14:25       File:folder
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3EORGIA SECRETARY OF STATE   I ELECTIONS   DIVISION
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                                 Case 1:17-cv-02989-AT Document
                                                       Document 1629-15
                                                                1569-44 Filed
                                                                        Filed 02/13/23
                                                                              01/09/23 Page
                                                                                       Page 23
                                                                                            23 of
                                                                                               of 91
                                                                                                  91




_LOT INVENTORY TOOL   APPENDIX   A - PAGE                                                                                                     5 (
PY TABULATOR STATUS REPORT TO USB DRIVE
Jen the Reports folder.
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      Case 1:17-cv-02989-AT Document 1629-15
                                     1569-44 Filed 02/13/23
                                                   01/09/23 Page 24 of 91


APPENDIX B - PAGE 1 OF 4
 Georgia Batch Inventory Tool Guide
 The Batch Inventory in Ario, allows counties a quick inventory list to use to verify their
 stored batch inventory prior to the start of an audit.




                                                                                                                       Ario
 To use this tool, simply log in to Ario as you                                                     Riek LimitingAudits by Wvot~s
 would for an audit by entering your email
 address in the box and selecting Log in to                                                         P,,rtlclpaoog 1nan audll 1<1yoo, loce,Ijunedlc0011?

 your audit. A code will be sent to your email                                                                    Enter \IOllf emall to 1091n:

 address to be used as your login credential.

                                                                                                                     Lw ~1 to your J.udl;




 Next, select Go to Batch Inventory.


                 @Ario                                                                                                                         f

                 Sample County - Batch Inventory test               Audit Setup


                   Batch Inventory
                   Create our Ballot Manifest and Candidate Totals by Batch masusing the batch Inventory worksheet




                   Ballot Manifest
                   Click 'Browsa• lo choose the appropriate BaJlot Manifest file from your computer. This file should bee comma-
                   separated llst of all the ballot boxes/containers used to store ballots for this particular elacllon, plus a count of how
                   many ballot cards (Individual pieces of paper) are stored in each conlalner.

                   (Click ~en>lo view a sample file in the correct format.)

                                                     Browee




                   Candidate Totals by Batch
      Case 1:17-cv-02989-AT Document 1629-15
                                     1569-44 Filed 02/13/23
                                                   01/09/23 Page 25 of 91

APPENDIX B - PAGE 2 OF 4
 Upload your Cast Vote Records (CVRs) and Tabulator Status file by selecting the Browse
 button and locating the file saved from your Election Management System (EMS) and
 then selecting Upload for each file. Then select Continue in the lower right corner.

            GArlo                                                                                                     0   glnny, ssmpr.Ovoll,ig.




            Batch Inventory                                                                                                   <   Back to Audil Selop




              0     Upload Election Result"




                  Cost Vote Records (CVR)                                                Tabulator Sta1us




 Your Batch Inventory Worksheet will be created and can be downloaded by selecting the
 Download Batch Inventory Worksheet button in the middle of the screen.


           e)Arlo                                                                                                 0   ginny+sWTipl..,,,ot,,ig" ..




           Batch Inventory                                                                                                <   Back 10 Audlr Solup




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                                                   I have completed the batch inventory worksheet




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       Case 1:17-cv-02989-AT Document 1629-15
                                      1569-44 Filed 02/13/23
                                                    01/09/23 Page 26 of 91

APPE DIX B - PAGE 3 OF 4
  The Ballot Inventory Worksheet is a .csv file
  that can be opened and printed in a
  spreadsheet program like Excel and Google
  Sheets. Each section of the worksheet should
  be reviewed carefully and compared to voter
  check-in data.
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  Section 1 provides totals for each ballot group                    Ul-,1       l(hV                                                    M &1llo<
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  type, including Absentee by Mail, Advanced                   ,
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  Voting, Election Day, and Provisional. Verify            t.l •r11 11:tw-
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  these totals match your known voter totals.              ..I    . lo:illit eii2\ &ia!WIIn Stof.11~
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                                                              l»uh                                                                                                     C'«udl
  Section 2 provides total ballots by batch.               • (C • AMtMtt8! ,Voll , L                                                                             12
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  Verify each batch is present in your physical            n  (C •A-..tmtt 8y 1•••11• 4
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  inventory and matches your reconciliation                n l:C•AMrmtdyWl·a                                                                                     )9
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  form counts. Verify no batches are missing.                        !OleN~~l:Pl
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 If batches are missing, they should be added              JI E0~•~'1"110' 1•0
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 to your EMS and a new CVR file should be                  Ji tot ..... mKPl·O                                                                                   JO
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 Ario.



 Once all batches have been confirmed, go back into Ario and mark the I have completed
 the batch inventory worksheet box and select Continue.




              Batch Inventory

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       Case 1:17-cv-02989-AT Document 1629-15
                                      1569-44 Filed 02/13/23
                                                    01/09/23 Page 27 of 91

APPENDIX B - PAGE 4 OF 4
 The tool will generate your Ballot Manifest and Candidate Totals by Batch files for the
 audit. Simply download each file and select Return to Audit Setup.

                 ()Ario                                                                                                                       0   ljnnyt5alTlplaiilvo1nQ




                 Batch Inventory                                                                                                                    • Oec;k to Aucjj! Setup




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 Then upload each file into Ario for the audit by selecting the Browse button and locating
 the file saved on your computer and then selecting Upload for each file.

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                     Ballot Manifest
                     Click "Browse• lo choose the appropriate Ballot Manifesl flte from your computer. This me should be ,1 comma~
                     separated list or all lhe ballol boxes/contail,ers used 10 slore ballots lor lhis particular ~leclion, plus a count or how
                     many ballot cards ~nd,vldual pieces of paper) ara storod In eru,h container.

                     (Cllci4 her• to view a samp'e !lie in Iha corracl formal.)

                                 , , "            .Browse



                .. ,,111
                     Candidate Totals by Batch
                     Click "Browse" to choose lhe approprtale Candldale Totels by Balch nlo lrom your computer. This flle should be a
                     comma-separated list of all lhe ballol boxes/containers used to store ballots for this particular election, plus a
                     count of how many votes we<e counlod for each c0nd!dalo in each of those conlainers.




                                                    •
                     (Click hare to view a sample file In the aomict fonnaq




 Your pre-audit files are now uploaded and are ready for the audit to be launched by the
 Department of State.
Case 1:17-cv-02989-AT Document 1629-15
                               1569-44 Filed 02/13/23
                                             01/09/23 Page 28 of 91




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                                            Case 1:17-cv-02989-AT Document 1629-15
                                                                           1569-44 Filed 02/13/23
                                                                                         01/09/23 Page 29 of 91




  SOS ELECTIONS DIVISION
  RISK LIMITING AUDITS
  OCTOBER 13, 2022




GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION
                                    Case 1:17-cv-02989-AT Document 1629-15
                                                                   1569-44 Filed 02/13/23
                                                                                 01/09/23 Page 30 of 91




GEORGIA ELECTIONS DIVISION


VISION
To produce trusted results that reflect the will of eligible Georgia
voters.

MISSION
To ensure and promote secure, accurate, and fair elections that
Georgia voters can have confidence in and to be a trustworthy
custodian of Georgia’s Great Seal.

   GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        2
                                     Case 1:17-cv-02989-AT Document 1629-15
                                                                    1569-44 Filed 02/13/23
                                                                                  01/09/23 Page 31 of 91




TRAINING AGENDA


• Audit timeline
• Preparing for the audit
• Ballot Inventory Tool
• Conducting the audit
• Additional items to consider
• Q&A



    GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        3
                                   Case 1:17-cv-02989-AT Document 1629-15
                                                                  1569-44 Filed 02/13/23
                                                                                01/09/23 Page 32 of 91




AUDIT TIMELINE
                          Date/Time                                                    Activity
      November 8, 2022                                     Election Day

      Between November 9 and November 15                   Secretary of State announces contest to be audited.

                                                           Last day to for counties to certify results and upload Cast Vote
      November 15, 2022
                                                           Records into the Batch Inventory Tool
                                                           All counties must use the provided Batch Inventory Tool to verify
      November 16, 2022
                                                           batches and submit ballot manifests into Arlo by 5:00PM.

      November 17, 2022                                    Counties must begin the audit on this day.

      5:00pm on November 22, 2022                          Deadline for counties to complete audit.

      Thursday, November 24, 2022                          Thanksgiving

      5:00pm on November 25, 2022                          Deadline for SOS to certify results.




  GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                              4
                                     Case 1:17-cv-02989-AT Document 1629-15
                                                                    1569-44 Filed 02/13/23
                                                                                  01/09/23 Page 33 of 91




AUDIT PREPARATION THAT YOU CAN BE DOING NOW


• Make sure that you have a space reserved for the audit.
• Consider whether you will need security to be at the audit.
• Organize a Vote Review Panel for the audit and consider when you will
  want them to meet. (Vote Review Panels - OCGA 21-2-483)
• Get badges prepared for every person participating in the audit.
• Prepare your notice for the audit.



    GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        5
                                    Case 1:17-cv-02989-AT Document 1629-15
                                                                   1569-44 Filed 02/13/23
                                                                                 01/09/23 Page 34 of 91




AUDIT PREPARATION THAT YOU CAN BE DOING NOW


• Review audit laws and State Election Board Rules
   • OCGA 21-2-498
   • SEB Rule 183-1-15-.04




   GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        6
                                     Case 1:17-cv-02989-AT Document 1629-15
                                                                    1569-44 Filed 02/13/23
                                                                                  01/09/23 Page 35 of 91




AUDIT PREPARATION THAT YOU CAN BE DOING NOW


• Inform both party chairs in your county.
   • Make sure they know the estimated timeline for the audit.
• Recruit people to observe the audit.
   • Encourage people to attend, especially those who have concerns about
       the process.
                                                                                                ■




    GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        7
                                     Case 1:17-cv-02989-AT Document 1629-15
                                                                    1569-44 Filed 02/13/23
                                                                                  01/09/23 Page 36 of 91




AUDIT MONITORS


• Parties with candidates on the ballot will be able to designate monitors.
   • A good rule is to allow 1 monitor from each political party/body per audit
       team.
   • If you only have 1 audit team, you should allow a minimum of 2 monitors
       from each political party/body.
                                                                                                ■




    GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        8
                                        Case 1:17-cv-02989-AT Document 1629-15
                                                                       1569-44 Filed 02/13/23
                                                                                     01/09/23 Page 37 of 91




BALLOT INVENTORY TOOL
WHAT YOU WILL GENERATE
• Cast Vote Records
   •      This report lists every ballot scanned during the entire election along with how
          the voting system recorded the voter’s selections.
   •      You will check the tabular format option in order to export the file as a CSV.
   •      This is the same as the file type that you generate in response to Open Records
          Requests.
• Tabulator Status Report
   •      This report lists every tabulator contained in your database along with how many
          ballots were recorded by that tabulator.
   •      Any tabulators with uploaded results will have a “Load Status” of 1.
   •      Any tabulators with a “Load Status” of 0 either were not uploaded or were never
          downloaded and used.
           • Remember that it is up to you to ensure that all your votes have been
               uploaded to the RTR System – the system will not check that for you.

       GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        9
                                                      Case 1:17-cv-02989-AT Document 1629-15
                                                                                     1569-44 Filed 02/13/23
                                                                                                   01/09/23 Page 38 of 91




BALLOT INVENTORY TOOL
GENERATE CAST VOTE RECORD AS CSV
1.     From the RTR Menu Bar, Select Actions -> Export -> CVR Export
2.     Check the “Use tabular format” option
3.     Click “Export”
4.     A popup will appear to confirm that the Cast Vote Records have been exported.
       Click Close.

~    EMSResults Tally and Reporting


                                                                                                -     CVR Export                                                               □


                                                                                                       Batch:      <<ALI_>>

                                                                                                    Tabulator:     < < ALI_> >

                                                                                                     Precinct:     <<   AL1-> >

                                                                                                BallotT ype:       < < ALI_> >

                                                                                                     Contest:      < < ALI_> >

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            GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                                                                      10
                                        Case 1:17-cv-02989-AT Document 1629-15
                                                                       1569-44 Filed 02/13/23
                                                                                     01/09/23 Page 39 of 91




BALLOT INVENTORY TOOL
GENERATE TABULATOR STATUS REPORT
1.   Select “Basic” from the Reports section of the left-hand menu in the RTR.
2.   Select “Tabulator Status” from the Report Name drop down menu.
3.   Click “Create Report”
4.   A popup will appear to confirm that the Requested Reports have been created.


                                         Report Group - Basic

                                         Counting Group:     I
                                                             <.All>   -I   District Type:     <<Any Division>>                   -1 Report Na me:             Tabulator Status
                                                                                                                                                               Results per Precinct
                                         Tabulator~          I
                                                             <AO>     -I   Parent District:   <<Any>>                                 Transformation Name~ Contest Overview Data
                                                                                                                                                               Locate Scanned Ballots
                                         Polling Location:   I
                                                             <All>    -I   District:          <All>
                                                                                                                                      0
                                                                                                                                                               Results per Tabulator
                                                                                                                                          Results are Official Batches Containing Precinct
                                         Contests:           I
                                                             <All>    ·I   Winner Margin:                        votes or less        @ Results are Unoffid Canvass
                                                                                                                                                              Write ins per Tabulator
                                         Report Title:                                                                           l2IStaridardlitle            Registration and Turnout

                                                                                                                                 121Report Filters




                                         Q- Create Report



       GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                                                                       11
                                          Case 1:17-cv-02989-AT Document 1629-15
                                                                         1569-44 Filed 02/13/23
                                                                                       01/09/23 Page 40 of 91




 BALLOT INVENTORY TOOL
 COPY CVR TO USB DRIVE
 1. Navigate to the current election directory in your NAS folder.
 2. Open the Results folder.
 3. Copy the CVR_Export file to a USB Drive.


Name                                     Date modified      Type

                                         9/19/202214:25     File folder    Name                                 Date rn od ified   Type
                                         9/19/2022 14:25    File folder
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  Project Package                        10/6/2022 0&:24    File folder
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         GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                         12
                                        Case 1:17-cv-02989-AT Document 1629-15
                                                                       1569-44 Filed 02/13/23
                                                                                     01/09/23 Page 41 of 91




BALLOT INVENTORY TOOL
COPY TABULATOR STATUS REPORT TO USB DRIVE
1. Open the Reports folder.
2. Open the Filtered folder.
3. Copy the Tabulator Status Report to the same USB Drive.
   Note: You need to copy the version that says “XML Document” next to the file name.
Name                                     Date modified        Type

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       GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                                  13
                                              Case 1:17-cv-02989-AT Document 1629-15
                                                                             1569-44 Filed 02/13/23
                                                                                           01/09/23 Page 42 of 91




BATCH INVENTORY TOOL
                                                                                    o      .Ario      Jurisdiction: Sample County



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  GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                                                                                             14
                                    Case 1:17-cv-02989-AT Document 1629-15
                                                                   1569-44 Filed 02/13/23
                                                                                 01/09/23 Page 43 of 91




BATCH INVENTORY TOOL
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  GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                                          15
                                                                 Case 1:17-cv-02989-AT Document 1629-15
                                                                                                1569-44 Filed 02/13/23
                                                                                                              01/09/23 Page 44 of 91




BATCH INVENTORY TOOL                                                                                                         Home         Insert       Draw         Page Layout               Formulas            Data       Review         View

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                                                                                                                            .3 Section l; CheckBallot Groups
  Batch Inventory                                                                              < Back to AuditSowca Data    4 1. Compare the CVRBallot Count for each ballot group to your voter check-in data.
                                                                                                                            S 2. Ensure that ballot numbers match. If there Is a large discrepancy, contact the SOS.
                                                                                                                            6
       Upload Elet:!1011
                       Reslllts                      0     Inventory Batches                    DownIoad Audit Files        7
                                                                                                                            8
                                                                                                                                 Ballot Group
                                                                                                                                 Absentee by Mail
                                                                                                                                                                                    CVR Ballot Count
                                                                                                                                                                                                         121
                                                                                                                                                                                                                  checked?

                                                                                                                            9    Advanced Voting                                                         106
                                                                                                                            10   El.,ctlon Day                                                           390
                                                                                                                            U Pro\/lslonal
                                                                                                                            12
                                  Follo                                                  es.                                13   Section 2: ChecltBatches
                                                                                                                            14   1. Locate each batch In storage.
                                            O   Download Batch Inventory Worksheet
                                                                                                                            15   2. Confirm the CVRBallot Count Is correct. If there ls a large discrepancy, contact the SOS.
                                                                                                                            16   3. Make sure there are no batches misting from this worksheel.
                                           I have completed the batch inventory worksheet.                                  17
                                                                                                                            18 Batch                                                CVR Ballot Count              Checked?
                                                                                                                            19   ICC- Absentee By Mall - 1                                                   n



                                                                                                         -
                                                                                                                            20   ICC-Absentee By Mail• 2                                                     20
                                                                                                                            21   ICC- Absentee By Mail· 3                                                    20
                                                                                                                            22   ICC· Absentee By Mail - 4                                                   20
    < Back                                                                                                                  23   ICC-Absentee By Mail - 5                                                    20
                                                                                                                            24 ICC- Absentee By Mall - 6                                                     19
                                                                                                                            2.5 AV-VR Office ICPl • 0                                                    106
                                                                                                                            26 ED-ZenaDrive ICP1- 0                                                          29
                                                                                                                            2? ED-Woodland ICP1- 0                                                           14
                                                                                                                            28 ED-cassville ICP1- 0                                                          19
                                                                                                                            29 ED-Taylorsville ICPl • 0                                                      11
                                                                                                                            30 ED-Hamilton Crossing ICP1- 0                                                  26
                                                                                                                            31 ED-l(JngstonICP1 • 0                                                          13
                                                                                                                            32 ED-White ICPJ. • 0                                                             7
                                                                                                                             33 ED-Mission Road ICP1- 0                                                      24
                                                                                                                            34 ED-EmersonICP1 - 0                                                            10
                                                                                                                            3~ ED-CenterICP1 • 0                                                             18
  GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                           .36 rn,cartersville Ea~t IcP 1- a                                                36                                        16
                                                                                                                                             batch-lnventory-worksheet-Sampl                     +
                                   Case 1:17-cv-02989-AT Document 1629-15
                                                                  1569-44 Filed 02/13/23
                                                                                01/09/23 Page 45 of 91




BATCH INVENTORY

                                        A                                     H                    L             u             t.

      l    Batch Inventory Wor ksheet
                                                                                                             -                           -       -

      2
           Section 1: Check Ball ot Groups                                                 T                          r                  -

      4    1. Compare the CVR Ballot Count for each baUot group to your voter check-in data.
      5    2. Ensure that ba.lJot numbers match. If there is a Jarge discrepancy, contact the SOS.
      6
      7    BaJlot Group                                           CVR Bal.lot Count          Checked?                                        -



      8    Absentee by MaiJ                                            -
                                                                                       121               ,           -~


      9    Advanced Voting                                        --
                                                                                       106               ,           -~             --           -



      10 Election Day                                                  --
                                                                                       390               ,                                   -

      11 Provisi ona .I                                                                  2               ,                --                 -




  GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                                    17
                                                   Case 1:17-cv-02989-AT Document 1629-15
                                                                                  1569-44 Filed 02/13/23
                                                                                                01/09/23 Page 46 of 91




             12
             13 Section 2: Check Batches
             14 1. Locate each batch in storage.
             15 2. Confirm the CVR Ballot Count is correct. If there is a large discrepancy, contact the SOS.
             16 3. Make sure there are no batches missing from this worksheet.
             17
             18 Batch                                            CVR Ballot Count          Checked?


                                                                                                                 BATCH
             19 ICC- Absentee By Mail - 1                                             22
             20 ICC- Absentee By Mail - 2                                             20
             21 ICC- Absentee By Mail - 3                                             20


                                                                                                                 INVENTORY
             22 ICC- Absentee By Mail - 4                                             20
             23 ICC-Absentee By Mail - 5                                              20
             24 ICC- Absentee By Mail - 6                                             19
             25 AV-VR Office ICP1 - 0                                                106
             26 ED-Zena Drive ICP1 - 0                                                29
             27 ED-Woodland ICP1 - 0                                                  14
             28 ED-Cassville ICP1 - 0                                                 19
             29 ED-Taylorsville ICP1 - 0                                              11
             30 ED-Hamilton Crossing ICP1 - 0                                         26
             31 ED-Kingston ICP1 - 0                                                  13
             32 ED-White ICP1 - 0                                                      7
             33 ED-Mission Road ICP1 - 0                                              24
             34 ED-Emerson ICP1 - 0                                                   10
             35 ED-Center ICP1 - 0                                                    18
             36 ED-Cartersville East ICP1 - 0                                         36
                             batch-inventory-worksheet-Sampl                 +


GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                              18
                                                             Case 1:17-cv-02989-AT Document 1629-15
                                                                                            1569-44 Filed 02/13/23
                                                                                                          01/09/23 Page 47 of 91




     @ Arl·O Jurisdiction: Sample County                                                                               I O gD'l!ly+r;ample@votlng
                                                                                                                                             ...



     Batch Inventory                                                                                                   < Back to Audll Sollfce Dala   BATCH
            u,,1oat1 El ctlo   e!itJlts                                Inventory Batches                                Dow loa AutJtt Flles
                                                                                                                                                      INVENTORY
                                                                                                                                                      TOOL
                                          r:olcowthe u1-stn.Jch0fls 1nthe 11/0tkslleetlo in\l{lr1loty you, batcJ1es.

                                                    O    Download Batch Inventory Worksheet


                                                     ave completed the batch inventory worksheet




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GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                                           10/13/2022   19
                                                                          Case 1:17-cv-02989-AT Document 1629-15
                                                                                                         1569-44 Filed 02/13/23
                                                                                                                       01/09/23 Page 48 of 91




    DOWNLOAD & UPLOAD AUDIT FILES
                                                                                                                                     Create yout Balr.otManlrestand Cat did.aleTotalsby Bale 1 lll>StJSlt,gthe bale , l1111e11toty
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0   Ario     Jurisdiction: Sample County                                                              0   ginllY+sarnple@votlng...



                                                                                                                                     Ballot Manifest
Batch Inventory                                                                                       < Back to Audit Sou,-ce Data
                                                                                                                                     Click "Browse' to choose the approprlale BallOtMani! st Wefrom your computer. Th.s tile should be a comma-
                                                                                                                                     separated 11stot all Ille ballot ooxwcontalners u~d to store balPot-stor this particular r.lec:tlon,plus a oou,11octnow
                                                                                                                                     many ballot cards (individual pieces or pape,) are stored In eacn contalne..
       Upload Election Results                        0      Inventory Batches                    8    Download Audit Flies
                                                                                                                                     (CIK;kl1el'8tu 11,ewa sarr1pl"Ille In lt,e corl'8ct roimaq                                                           ~

                                                                                                                                                                          B,owsr.

                                                 Batch Inventory Complete
                                   Next, download the Ballot Manifest and CandkiateTolaiSby
                                                                               SourceData page.
                                   Batcil filas, then upload them on 111eA.uc:1I1


                                                  O   Download Ballot Manifest
                                                                                                                                     Candidate- Totals by Batch
                                            O   Downklad Candidate Totals by Batch                                                   Cl,ci< "Browse' lo choose the app,opriate CaMJdate Totals by Batch Ille ftorn your corr,puter.This me should be a
                                                                                                                                     comma-sepamtocl11stol ail Ille ballot boi<.es/cootalners used to stom ballots for this parucular election. plus a
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               GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                                                                                                   10/13/2022                    20
                                     Case 1:17-cv-02989-AT Document 1629-15
                                                                    1569-44 Filed 02/13/23
                                                                                  01/09/23 Page 49 of 91




LOGISTICS FOR DAY BEFORE AUDIT STARTS (NOVEMBER 16)


• Random selection of batches
   • Dice roll
• Audit launches in Arlo
• Get your batch retrieval list from Arlo




    GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        21
                                        Case 1:17-cv-02989-AT Document 1629-15
                                                                       1569-44 Filed 02/13/23
                                                                                     01/09/23 Page 50 of 91




AUDIT PREPARATION
FACILITY PREPARATIONS
 Walk the facility ahead of time to ensure you will not have any surprises on the day of the audit. This is
   especially important if you are using an offsite facility.
 Do not transport ballots into the auditing facility before the start of the audit unless it is secure and the
   process is observable.
 Set up as much as you can ahead of time.
       Tables and Chairs
       Signage
       Training Equipment




       GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                            22
                                        Case 1:17-cv-02989-AT Document 1629-15
                                                                       1569-44 Filed 02/13/23
                                                                                     01/09/23 Page 51 of 91




AUDIT PREPARATION
PREPARE THE FACILITY
 Check In/Out Station – Secure area where ballots are stored when not in use. Access should be
   limited to employees who need it such as the check in/out clerks and the person in charge or the audit.
   Official Monitors should not be allowed in this area but should be able to observe activities within it.
       Some counties may have to have use a separate room to secure their ballots. In this case they may not need a
        check in/out station in the auditing area but should ensure that the process to transfer in and out of that room is
        observable, and that there is a place to enter data in Arlo.
 Auditing Tables – Tables where the auditors or vote review panels will sit to do their work. Tables
   should be spaced far enough apart to allow movement in between them and positioned in a way to
   make the process as observable as possible.
 Arlo Data Entry Area – An internet connected PC where the tally sheets will be entered into Arlo. The
   computer should be positioned so that Official Monitors are able to observe the data entry process.




       GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                        23
                                    Case 1:17-cv-02989-AT Document 1629-15
                                                                   1569-44 Filed 02/13/23
                                                                                 01/09/23 Page 52 of 91




AUDIT PREPARATION
PREPARE THE FACILITY

                                                                                                           PUBLIC AREA
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  GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                                                                                                             24
                                    Case 1:17-cv-02989-AT Document 1629-15
                                                                   1569-44 Filed 02/13/23
                                                                                 01/09/23 Page 53 of 91




AUDIT PREPARATION
PREPARE THE FACILITY
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  GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                                      25
                                          Case 1:17-cv-02989-AT Document 1629-15
                                                                         1569-44 Filed 02/13/23
                                                                                       01/09/23 Page 54 of 91




GENERAL                                                                              • Signage reminding monitors to sign in

                                                                                     •
                                                                                          (provided)
                                                                                          Monitor sign-in sheets (provided)
ROOM                                                                                 •
                                                                                     •
                                                                                          Name tags for staff
                                                                                          Tape for signs

SUPPLIES
                                                                                     •    Pens




GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                      10/13/2022                                26
                                          Case 1:17-cv-02989-AT Document 1629-15
                                                                         1569-44 Filed 02/13/23
                                                                                       01/09/23 Page 55 of 91




CHECK-
IN/OUT
                                                                                     • Ballot Container Inventory Sheet
                                                                                       (provided)
                                                                                     • Laptop with internet access

STATION                                                                              • Colored pens (RED)



SUPPLIES
GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                      10/13/2022                           27
                                          Case 1:17-cv-02989-AT Document 1629-15
                                                                         1569-44 Filed 02/13/23
                                                                                       01/09/23 Page 56 of 91




                                                                                     • Stack labels (provided - print in color
                                                                                          when possible)
                                                                                     •    Attention signs (provided - print on

AUDIT
                                                                                          different colored cardstock when
                                                                                          available)
                                                                                     •    File folders or envelopes for Vote

BOARDS                                                                               •
                                                                                          Review Panel ballots
                                                                                          Sortkwik and/or rubber fingers

SUPPLIES                                                                             •
                                                                                     •
                                                                                          Container openers
                                                                                          Container seals
                                                                                     •    Colored pens (RED is best)
                                                                                     •    Signs indicating Audit Board Number
                                                                                          (e.g. Audit Board #1)

GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                      10/13/2022                                  28
                                          Case 1:17-cv-02989-AT Document 1629-15
                                                                         1569-44 Filed 02/13/23
                                                                                       01/09/23 Page 57 of 91




VOTE
REVIEW
                                                                                     • Vote Review Board Tally Sheet (provided)
                                                                                     • List of Valid Write-In Candidates for the
                                                                                       office(provided)

PANEL                                                                                • Colored pens (RED)



SUPPLIES
GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                      10/13/2022                                    29
                                     Case 1:17-cv-02989-AT Document 1629-15
                                                                    1569-44 Filed 02/13/23
                                                                                  01/09/23 Page 58 of 91




ON THE MORNING OF THE AUDIT


• Make sure you begin by explaining the process to all audit participants and
  observers in the room.
   • Ask if anyone has questions, and try to address them before you get
       started.




    GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        30
                                        Case 1:17-cv-02989-AT Document 1629-15
                                                                       1569-44 Filed 02/13/23
                                                                                     01/09/23 Page 59 of 91




AUDITING PROCESS
BATCH SELECTION
 The check in/out clerks will have a list of batches that are included in the audit.
       The Batch Retrieval List will be generated by Arlo after the audit begins.
       Counties may audit more batches than this if they choose, but they must start with those included on the Batch
        Retrieval List.
 The check in/out clerks will select which batch is assigned to which audit team. They may also split
   large batches between audit teams.
 The batch will be located inside a secure container that should be sealed. Containers with ICC batches
   may contain multiple batches, but only one batch should be removed per audit team.




       GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                   31
                                        Case 1:17-cv-02989-AT Document 1629-15
                                                                       1569-44 Filed 02/13/23
                                                                                     01/09/23 Page 60 of 91




AUDITING PROCESS
CHAIN OF CUSTODY
 The check in/out clerks should refer to the appropriate documentation to verify the chain of custody of
   each secure container prior to removing it from the check in/out station.
 Then the check in/out clerk will transport the secure container to selected audit team.
 The audit team will verify the seal(s) on the secure container with the check in/out clerk before signing
   the RLA Chain of Custody Form.
       If more than one team is involved in auditing a large batch, they should all verify the seal(s) on the secure
        container.
 If there was more than one batch in the in the secure container, the check in/out clerks should reseal it
   and record the seal number on the appropriate form before returning the container to the Library.
       Containers should not be moved around the auditing space without being sealed.




       GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                  32
                                   Case 1:17-cv-02989-AT Document 1629-15
                                                                  1569-44 Filed 02/13/23
                                                                                01/09/23 Page 61 of 91




VIDEO




                        Click link to play video: https://youtu.be/U3Vqs2CtQV8
  GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        33
                                                                       Case 1:17-cv-02989-AT Document 1629-15
                                                                                                      1569-44 Filed 02/13/23
                                                                                                                    01/09/23 Page 62 of 91




BATCHES SELECTED
                                                                                                                                                      Audit Board Batch Tally Sheet
                                                                                                                                                      Batch Name: 400,0

@Ario                                                                                                                   0   jonah+ja.losangeles@...   Jurisdiction: Sample County

                                                                                                                                                      Audit Board: Audit Board #1
Test County - General Election             Round 1                                                  0/4 batches audited                               Balch Type (Optional): _______                    _


                                                                                                                                                      Was lhe container sealed when received by lhe audit board?          0   Yes

   0     Prepare Batches                                         Set Up Tally Entry Accounts                                        Enter Tallies
                                                                                                                                                       Candidates/Choices                                   Enter Stack Totals

                                                                                                                                                       ye5

                                                                                                                                                       no
                                                                               Print Batch Tally Sheets

                                                                                                                                                      When worl< is completed, return all ballots to the ballot container and seal the container.
       For each batch in the retrieval list:                                   There will be one tally sheet for each batch. Use these tally          Was the container resealed by the audit board?         0   Yes
                                                                               sheets when recording the audited votes in each batch.
         • Find the container In storage
         • Perform the required chain of custody verification steps                                                                                   x_____________                            x_____________                         _
         • Take the batch of ballots out of the container and stack                                                                                              (Audit Board Member}                         (Audit Board Member)
           them



                                                                                                                                                      Check-In/Out Station Steps:

                                                                                                                                                      0   Recorded batch check-in

                                                                                                                                                      D   Entered tallies fnto Ario

                                                                                                                                                              lnitlals of check-in/out station member




            GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                                                                                                   10/13/2022            35
                                     Case 1:17-cv-02989-AT Document 1629-15
                                                                    1569-44 Filed 02/13/23
                                                                                  01/09/23 Page 63 of 91




AFTER AN AUDIT TEAM GETS A TALLY

• After an audit team gets a tally for a batch, verify the TOTAL number of
  ballots they counted.
   • Do NOT verify the results of the batch.
• The check in/out clerk will have the total number of ballots in the batch from
  the ballot manifest, and they should ask the audit team, “How many ballots
  did you count?”
   • In the event there is a discrepancy, the election superintendent can
      choose to have the audit team count again.
• Once you have a tally, you can put the results of the batch in Arlo.



    GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        36
                                     Case 1:17-cv-02989-AT Document 1629-15
                                                                    1569-44 Filed 02/13/23
                                                                                  01/09/23 Page 64 of 91




AFTER AN AUDIT TEAM GETS A TALLY

• Put the batch back into the sealed container, put a new seal on the batch,
  record the new seal number, and complete chain of custody paperwork.

• In the event that a ballot (or ballots) need to be reviewed by the Vote
  Review Panel, place the ballot into a sealed envelope, record the batch that
  the ballot belongs to, and send it to the Vote Review Panel.

• Make sure the process of returning the batch to secure storage is
  observable.



    GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        37
                                     Case 1:17-cv-02989-AT Document 1629-15
                                                                    1569-44 Filed 02/13/23
                                                                                  01/09/23 Page 65 of 91




WHAT IF AN AUDIT BOARD TEAM MEMBER NEEDS TO STEP
AWAY?

• Make sure there are always 2 people with open containers of ballots.

• The Librarian, or another designee of the election superintendent, can step
  in for an audit board team member.




    GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        38
                                                          Case 1:17-cv-02989-AT Document 1629-15
                                                                                         1569-44 Filed 02/13/23
                                                                                                       01/09/23 Page 66 of 91




      @Ario                                                                                                           0 jonah➔•ja.losangeles@...   j


                                                                                                                                                       TALLY
      Test County - General Election   Round 1                                                         0/4 batches audited




                                                                                                                                                       ENTRY
               Prepare Bat hes                           •      Set Up Tally Entry Accounts                                      EnterTalhes




                                                                                                                                                       ACCOUNTS
                                       Do you want to set up additional tally entry accounts?
                                       If you want to have multiple people entenng tallies at the same time. set
                                       up tally entry accounts for them. Otherwise, use your account to enter
                                       the tally for each batch you audit.

                                        Set Up Tally Entry Accounts      Skip




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GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                                            10/13/2022   39
                                                                           Case 1:17-cv-02989-AT Document 1629-15
                                                                                                          1569-44 Filed 02/13/23
                                                                                                                        01/09/23 Page 67 of 91




CREATING TALLY ENTRY ACCOUNTS

JURISDICTION MANAGER                                                                                                                          TALLY ENTRY USER
       Ario                                                                                                     0    jonah+ja.losangeles@
                                                                                                                                        ...



Test County - General Election         Round 1                                                 0/4 batches audited

                                                                                                                                                                Test County - General Election

   0      Prepare Batches                               0     Set Up Tally Entry Accounts                                   Enter Tallles
                                                                                                                                                            Tally Entry Log In
                                                                                                                                                  Name                          Party Affiliation (if required)
        Share Tally Entry Login Link                                        Confirm Tally Entry Accounts
                                                                                                                                                   John Smith                                                      ..
                                                                                                                                                                                                                   ...
~        h:tps://arlo.voting.wotks/audttboard/disdain-coastal-unden           Aaron Michaels
                                                                              Matthew Milchell Roberts
                                                                                                           ,P ~nlor Loom Code •
~ II        Copy Link     0   Download Pnntoul                                                                                                    Name                          Party Affiliation (if requ,red)
                                                                              Kate Bradley
                                                                              5arah Lee
                                                                                                           ,P Enlm loom Cod•
                                                                                                                                                                                                                   ..
                                                                                                                                                                                                                   ...

                                                                              John Smith
                                                                              Jane Doe
                                                                                                           el Logged In

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                                                                              Jae!<Sprat
                                                                              Mary White
                                                                                                           el Logged In
                                                                                                                                                                                                      Login Code                     ~



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                                                                                                                                                                                         Tell your login code to the person running your aud~.


            GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                                                                              10/13/2022                      40
                                           Case 1:17-cv-02989-AT Document 1629-15
                                                                          1569-44 Filed 02/13/23
                                                                                        01/09/23 Page 68 of 91




TALLY ENTRY
                          @Ario                                                                                                    0    jonah+ja.losangeles@ ...



                          Test County - General Election   Round 1                                                  0/4 batches audited



                             0       Prepare Batches                         0   Set Up Tally Entry Accounts                              e     Enter Tallies



                            Q   Search batches ..          Tabulator A - Batch 1
                                                           Vote Totals                                                                 Use multiple tally sheets
                            Tabulator A - Batch 1
                                                            Choice                                        Votes
                            Tabulator A - Batch 2

                            Tabulator A - Batch 3           Alice Adams                                        12

                            Tabulator A - Batch 4
                                                             Bob Bates                                         8



                                                            Carol Copeland


                                                                                                                                              ✓   Save Results




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  GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                                                                                    10/13/2022   41
                                        Case 1:17-cv-02989-AT Document 1629-15
                                                                       1569-44 Filed 02/13/23
                                                                                     01/09/23 Page 69 of 91




THINGS TO CONSIDER WHEN PLANNING YOUR AUDIT


 When will you put your notice on your website? How else will you advertise your audit?
 Do you need to provide food or drinks to your employees during your audit?
       Will they take lunch breaks or are they expected to stay the entire time?
       Is there an area away from the ballots that they can eat in?
 Are you planning on livestreaming the audit?
       If so, how will you educate the viewers on the auditing process?




       GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        42
                                     Case 1:17-cv-02989-AT Document 1629-15
                                                                    1569-44 Filed 02/13/23
                                                                                  01/09/23 Page 70 of 91




THINGS TO CONSIDER WHEN PLANNING YOUR AUDIT


• Our SOS office will release statewide results once all counties are finished.

• Your office can release your county-level results as soon as you are
  complete.

• We will want to collect your tally sheets again this year, so be prepared to
  scan those and send to us after you are complete with the audit.




    GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        43
                                   Case 1:17-cv-02989-AT Document 1629-15
                                                                  1569-44 Filed 02/13/23
                                                                                01/09/23 Page 71 of 91




QUESTIONS




  GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        44
                                 Case 1:17-cv-02989-AT Document 1629-15
                                                                1569-44 Filed 02/13/23
                                                                              01/09/23 Page 72 of 91




                                         Thank you!
                                                       Presenter(s)
                          Georgia Secretary of State | Elections Division
                   Elections@sos.ga.gov | (404) 656-2871 | sos.ga.gov


GEORGIA SECRETARY OF STATE | ELECTIONS DIVISION                                                        45
Case 1:17-cv-02989-AT Document 1629-15
                               1569-44 Filed 02/13/23
                                             01/09/23 Page 73 of 91




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            Case 1:17-cv-02989-AT Document 1629-15
                                           1569-44 Filed 02/13/23
                                                         01/09/23 Page 74 of 91


  From: Elections Division - Do Not Reply ElectionsDivision-DoNotReply@sos.ga.gov
Subject:IMPORTANT AUDIT REMINDERS
   Date:November 17, 2022 at 5:43 AM
     To:Black, Josh jblack@sos.ga.gov, Davenport, Angela adavenport@sos.ga.gov, Deering, Amanda ADeering@sos.ga.gov,
        Golden, Tyrell tgolden@sos.ga.gov, Rogers, Savannah SRogers@sos.ga.gov
    Cc: Evans, Blake bevans@sos.ga.gov, Harris, Jesse jharris@sos.ga.gov, Combs, Leigh lcombs@sos.ga.gov, Northen, Nicolas
        nnorthen@sos.ga.gov, Anglin, Rebecca RAnglin@sos.ga.gov, Virginia Vander Roest ginny@voting.works, Arlo Support
        rla@vx.support


       As you begin the sort, stack, and tally process today, we have a few reminders for you:

            1. If the batch selected was not batched as expected, please reach out for a solution and send an email to
                rla@vx.support!

            2. Write-in votes are sorted, sent to the Vote Review Panel for review and adjudication on the Vote Review
                Panel Tally Sheet (found in Firefly) but not entered into Arlo

            3. The no vote pile does not need to be added up and put on the Batch Tally Sheet or entered into Arlo (Arlo
                does that math automatically based on your candidate totals). However, you may find it helpful to still
                count them to verify your total number of ballots in the batch.

       And finally, remember, a slow methodical count, as seen in our training video ensures accuracy and high visibility
       for the public viewing your work. https://youtu.be/pjcGXjvpEDs.
                                                  ------
       You all did an excellent job preparing for the audit, we know you're well prepared for counting today, but if you
       have any questions, please do not hesitate to reach out to us at rla@vx.support!
       Virginia Vander Roest
       Election Implementation Manager, VotingWorks
       (269) 215-0215
       Email: rla@vx.support

       Sent on behalf of
       Georgia Secretary of State
       Elections Division
       Main Office: 404-656-2871
       sos.ga.gov




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Case 1:17-cv-02989-AT Document 1629-15
                               1569-44 Filed 02/13/23
                                             01/09/23 Page 75 of 91




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     Case 1:17-cv-02989-AT Document 1629-15
                                    1569-44 Filed 02/13/23
                                                  01/09/23 Page 76 of 91




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                                 Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.


                 DECLARATION OF AILEEN NAKAMURA


AILEEN NAKAMURA declares, under penalty of perjury, pursuant to 28 U.S.C.

§1746, that the following is true and correct:

 1. My name is Aileen Nakamura. I am over 18 years old.

 2. I have personal knowledge of all facts stated in this declaration, and if called

     to testify, I could and would testify competently thereto.

 3. I am a registered voter residing in Sandy Springs in Fulton County, Georgia.

 4. On November 17th, 2022, I was a Gwinnett County audit monitor for the

     Libertarian party.

 5. The audit began at 9am, but due to heavy traffic I did not arrive until 9:30. At

     this time the 18 audit teams had finished counting the first batch and was

     moving onto the 2nd batch.
   Case 1:17-cv-02989-AT Document 1629-15
                                  1569-44 Filed 02/13/23
                                                01/09/23 Page 77 of 91



6. The Gwinnett Elections personnel staff were extremely helpful and

   transparent. Grayson Davis, who in charge of Elections and the warehouse,

   told me they were counting five batches: two Advance in Person (AIP), two

   Election Day (ED), and one Absentee by Mail (ABM).

7. When I asked how many ballots each batch was, he looked them up. The

   breakdown he relayed was:

   AIP Mountain Park 2B – 1,859

   AIP Bogan – about 6,338

   ED Rockbridge 44B – 289

   ED Goodwinns 070B – 728

   ABM batch was 48-50 pages, which means 24-25 ballots. (Gwinnett has two

   page ballots due to English/Spanish dual language ballots.)

8. There were about eight audit monitors there – I believe three were from the

   Carter Center, and the rest were appointed by parties. We were free to roam

   the area and observe everything that happened. However, we were not given

   any instructions or audit guidelines to understand the entire process of what

   was happening.

9. Photography and videotaping was allowed while in the public areas as by law.

   Here are two photos of the overall setup of the room in which the audit was

   performed:
Case 1:17-cv-02989-AT Document 1629-15
                               1569-44 Filed 02/13/23
                                             01/09/23 Page 78 of 91
   Case 1:17-cv-02989-AT Document 1629-15
                                  1569-44 Filed 02/13/23
                                                01/09/23 Page 79 of 91



10. While I observed different audit teams counting their stacks, I noticed that

   they did not have any written instructions they were following, and that some

   of them seemed to be creating processes as they went. I observed one team

   where one person was counting a stack of ballots silently, while her partner

   observed her count. At one point it was clear they both became confused and

   started counting over again. It was at this point that they started counting and

   placing the stacks in groups of 10 to make it easier to keep track. I felt it

   would be easier for teams had they had clear written instructions to follow.

11. With 18 audit teams and eight ‘roving’ audit monitors, there was no way the

   observers could watch every audit team all the time. I did notice that each

   team I observed seemed to have their own method of checking that the

   numbers were correct.

12. I was also surprised that there did not seem to be any checking of the data

   being entered into the Arlo system. There were two computers set up for this

   purpose on a separate table, but only one person entering the information for

   each, with no one checking their work.

13. The table with computers was in clear view of observers, but it was

   impossible to see what was actually being entered unless one stood right over

   the shoulder of the person doing the data entry. I did try to take a video of the

   data being entered from the public area, but was not able to get a clear shot of
   Case 1:17-cv-02989-AT Document 1629-15
                                  1569-44 Filed 02/13/23
                                                01/09/23 Page 80 of 91



   the words on the screen, even though I was only a few feet away from the data

   entry person.

14. Due to the relatively small number of ballots which had to be counted, the

   entire process of counting all five batches was finished by about 1 p.m.

15. Around 5 p.m., we received an email from Zach Manifold, the Gwinnett

   Elections Supervisor, that they received word from the State that they would

   have to recount one batch the following day, and the recount would

   commence at 9 a.m. I asked Mr. Manifold which batch they would be

   recounting and why, and he replied, “AIP at Bogan. One went up ten and one

   down ten so it appears one of the teams probably put a stack in the wrong pile

   while tallying.”

16. It was clear that all of us observers missed this large error. I am unsure

   whether it was a counting error or a data input error.

17. I was not able to attend the recount the following day, but according to Mr.

   Manifold and Mr. Davis, they had 7 audit teams performing the recount of the

   batch of 6,338 ballots from Bogan. It took from 9 am until about 12:20 for

   them to finish. The final report I received via email was that, "They just

   finished and it did end up correcting. I think the entire batch was only off by 1

   and I’m sure that’s human error versus a machine count."

18. The basis for determining whether a counting discrepancy was acceptable has

   not been explained to monitors. I am unaware of how smaller discrepancies
Case 1:17-cv-02989-AT Document 1629-15
                               1569-44 Filed 02/13/23
                                             01/09/23 Page 81 of 91



were handled in other counties, or whether the discrepancies were

investigated. The Secretary of State materials I read in advance of attending

the audit indicated that some level of count discrepancy was expected and

acceptable. That is confusing to me, particularly given that the rationale was

not explained.



Executed on this date, December 5th, 2022.




Aileen Nakamura
Case 1:17-cv-02989-AT Document 1629-15
                               1569-44 Filed 02/13/23
                                             01/09/23 Page 82 of 91




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       Case1:17-cv-02989-AT
      Case  1:17-cv-02989-AT Document
                              Document1629-15
                                       1569-44 Filed
                                                Filed02/13/23
                                                      01/09/23 Page
                                                                Page83
                                                                     83ofof91
                                                                            91



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                                       Civil Action No.1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.



                               DECLARATION OF B. JOY WASSON

     B. JOY WASSON declares, under penalty of perjury, pursuant to 28 U.S.C.

     § 1746, that the following is true and correct:

     1. My name is B. Joy Wasson.

     2. I am over the age of 18 and competent to testify if called on to do so.

     3. I am a registered voter in DeKalb County Georgia.

     4. I observed Georgia's "Statewide Risk Limiting Audit" of the November 2022 General
        Election in Fulton County on November 17, 2022 as an appointee of the Libertarian
        Party.

     5. On that day I arrived at the Georgia International Convention Center, the site of the audit,
        a little after 8a.m. I checked in and was given a badge by LaShondra who instructed me
        to sit in the public observation area until they announced the start of the audit.

     6. There was signage in front of the public observation area saying "NO CELL PHONES
        ALLOWED BEYOND THIS POINT.' l stepped back towards the entrance to the huge
        room, well outside the area where phones were said to be disallowed to take a couple of
        photographs. LaShondra came over and told me I was not allowed to take any
        photographs. She later confirmed to me that I was not allowed to take any photographs in
        the entire room, even before the signage that said "beyond this point.''

     7. I was told there were no Voting Works representatives present Most of the workers were
        wearing Fulton Votes shirts but none had visible badges.

     8. It was announced at 8:41 that they were starting with a batch of Advance Voting ballots.
        Instructions were given to tbe audit workers and paper was handed out to them. A
Case 1:17-cv-02989-AT
Case 1:17-cv-02989-AT Document
                      Document 1629-15
                               1569-44 Filed
                                       Filed 02/13/23
                                             01/09/23 Page
                                                      Page 84
                                                           84 of
                                                              of 91
                                                                 91


   cardboard box said to be from Jobns Creek Envirnnmental was untaped and taken to the
   first table where stacks of ballots began being handed to 17 teams of 2 sitting at rows of
   numbered tables. A few extra workers were sitting at tables. We observers were allowed
   to walk around the outside of the metal barricades surrounding the tables of audit teams
   so we could see most of the workers fairly well, but not ballots themselves.

9. There were additional staff along the wall where there was a laptop for inputting the data.
   It appeared that one worker was doing the input alone and we were not able to see what
   she was typing nor what she was typing from.

10. Around 9:20am workers were fmishing up with that first batch and materials were being
    collected. Around 9:30 they held up a 2nd box, showing it was sealed. They pulled the
    tape off, opened it and started passing out the stacks of ballots. At 9:35 they announced to
    the workers that they could begin counting the ballots. They stated that this was an
    Election Day batch from Roswell R W02 of around 800 and they finished with the
    counting in about 15 minutes.

11. They had 2 more boxes. They explained later they didn't need to open the 4th because
    they retrieved the batch they needed from the 3rd box. Those last two l:>oxesthey said
    contained the batch of UOCA VA ballots (from uniformed and overseas voters). There
    were eight ballots in the 3rd batch.

12. They were done a little after 10am. At 10:15 Dominick gave us these total nun1bers of
    ballots counted, minus undervotes & non-qualified write-ins:
        Johns Creek Environmental: 2302
        Advance voting RW02: 847
        UOCA VA batch: 8

13. I asked him if there were any discrepancies and he said there were no discrepancies to
    report. He said they had no other details to give us. The audit was concluded for the
    public without any announcement of the vote tallies. Therefore I do not know whether
    there were discrepancies in the vote count nor whether any discrepancies were
    investigated.

14. On December 4, 2022, r downloaded data from the Georgia SOS website, including the
    audit summary, ballot manifests and machine batch tallies. I saw no link on the website to
    the hand count ta1ly sheets or other publicly available data from the audit. 1 don't have
    any way of knowing what the audit hand counts were that were intended to be input into
    the Arlo system unless I somehow obtain the hand tally sheets that were completed that
    day by the workers.

Executed on this date, December 5~2022.




                                          B. Joy Wasson
Case 1:17-cv-02989-AT Document 1629-15
                               1569-44 Filed 02/13/23
                                             01/09/23 Page 85 of 91




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              Case 1:17-cv-02989-AT Document 1629-15
                                             1569-44 Filed 02/13/23
                                                           01/09/23 Page 86 of 91
                                                                    Thursday, December 1, 2022 at 20:12:37 Eastern Standard Time


Subject: The Buzz Post - Statewide Risk Limi6ng Audit Following December 6 Runoﬀ
Date: Thursday, December 1, 2022 at 1:00:45 PM Eastern Standard Time
From: DoNotReply@sos.ga.gov
To:      DoNotReply@sos.ga.gov

A new discussion has
been posted in The Buzz by Evans, Blake on 12/1/2022 12:51 PM


As was stated in the Oﬃcial Elec6on Bulle6n, the statewide Risk-Limi6ng Audit following the December 6, 2022
Runoﬀ elec6on is recommended by members of the State Elec6on Board, and that recommenda6on is supported by
Secretary Raﬀensperger and me.

While the hope is that all coun6es will choose to par6cipate in the audit because of the value that audits add to
elec6on outcomes, there is no law or SEB rule currently in place that mandates this audit.

The reason that I chose to support the recommenda6on for an audit is because I believe that the beneﬁt the audit
would bring is greater than the cost. From my experience, jurisdic6ons that conduct frequent audits are o[en
considered the best at conduc6ng high-integrity elec6ons. I believe that Georgia is headed in the direc6on of
mandated audits following every elec6on.

I recognize that there is a cost to the audit, and I recognize that people are 6red. However, a[er considering the pros
and cons of an audit, I decided to support the SEB's recommenda6on because I believe that an audit will bring
addi6onal public conﬁdence to the outcome of the elec6on. My hope is that all coun6es choose to par6cipate.

Thank you for all you are doing to serve the voters of Georgia. You are representa6ng your coun6es and our state
very well.

Blake Evans, Elec6ons Director



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                                                                                                                          Page 1 of 1
Case 1:17-cv-02989-AT Document 1629-15
                               1569-44 Filed 02/13/23
                                             01/09/23 Page 87 of 91




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          Case 1:17-cv-02989-AT Document 1629-15
                                         1569-44 Filed 02/13/23
                                                       01/09/23 Page 88 of 91



          Examine DVSOrder issue
In [1]: import     math
        import     numpy as np
        import     scipy as sp
        import     pandas as pd


In [2]: # from https://gist.githubusercontent.com/jhalderm/d813e5ef35ef0aa45e114cc4e40f
        def generate_sequence(p):
            return [sum([5,0,8,3,2,6,1,9,4,7][864803*n//10**p[i]%10]*10**i for i in ran
                for n in range(1000000)]
        icp_sequence = generate_sequence([2,3,1,5,0,4])
        ice_sequence = generate_sequence([1,5,0,4,2,3])



          Heard county
In [3]: fn = './Data/CVRs/Heard CVR_Export_20221115201056.xlsx'


In [4]: cvr = pd.read_excel(fn, skiprows=3)


In [5]: cvr.head()

Out[5]:
               CvrNumber TabulatorNum BatchId RecordId ImprintedId CountingGroup PrecinctPortion

          0            1           160       1        1     160-1-1                           004-
                                                                        Provisional Centralhatchee
           1           2           160       1        2     160-1-2     Provisional 002-Enon Grove
           2           3           160       1        3     160-1-3     Provisional 006-Ephesus
          3            4           150      15        1    150-15-1    Absentee by            004-
                                                                               Mail Centralhatchee
          4            5           150      15        2    150-15-2    Absentee by            004-
                                                                               Mail Centralhatchee
          5 rows × 64 columns
In [6]: # extract the record IDs
        ed = cvr[cvr.CountingGroup.isin(['Election Day','Advanced Voting'])]
        len(ed)

          4129
Out[6]:


In [7]: tab_batch = ed[['TabulatorNum','BatchId']].value_counts().reset_index(name='cou
        tab_batch
          Case 1:17-cv-02989-AT Document 1629-15
                                         1569-44 Filed 02/13/23
                                                       01/09/23 Page 89 of 91
Out[7]:       TabulatorNum BatchId count
          0              70      0 1730
          1              10      0 639
          2             40       0 504
          3             50       0 477
          4             30       0 340
          5             60       0 226
          6              20      0 213

In [8]: file_stem = './Data/CVRs/'
        county = 'heard'
        orders = {}
        mn = {}
        mx = {}
        with pd.ExcelWriter(file_stem + county + '.xlsx') as write_xl:
            for tn in sorted(tab_batch['TabulatorNum']):
                dat = ed[ed['TabulatorNum']==tn].copy()
                orders[tn] = [np.where(icp_sequence == d)[0][0] for d in np.array(dat[
                dat['sort_order'] = orders[tn]
                dat = dat.sort_values(by=['sort_order'])
                dat.to_excel(write_xl, sheet_name=str(tn))
                n = len(dat)
                mn[tn]= np.min(orders[tn])
                mx[tn] = np.max(orders[tn])
                m = mx[tn] - mn[tn] + 1
                print(f'{tn=} {n=} {m=} {n-m == 0} 1st ballot index: {mn[tn]} 1st ballo
                     f' last ballot index: {mx[tn]} last ballot: {icp_sequence[mx[tn]]}

          tn=10 n=639 m=639 True 1st ballot index: 313417 1st ballot: 107604 last ballot
          index: 314055 last ballot: 569110
          tn=20 n=213 m=213 True 1st ballot index: 565841 1st ballot: 737823 last ballot
          index: 566053 last ballot: 373686
          tn=30 n=340 m=340 True 1st ballot index: 665148 1st ballot: 427264 last ballot
          index: 665487 last ballot: 600125
          tn=40 n=504 m=504 True 1st ballot index: 954563 1st ballot: 277415 last ballot
          index: 955066 last ballot: 247707
          tn=50 n=477 m=477 True 1st ballot index: 850145 1st ballot: 267312 last ballot
          index: 850621 last ballot: 736181
          tn=60 n=226 m=226 True 1st ballot index: 526639 1st ballot: 497090 last ballot
          index: 526864 last ballot: 186799
          tn=70 n=1730 m=1730 True 1st ballot index: 719550 1st ballot: 757641 last ball
          ot index: 721279 last ballot: 298335

In [9]: orders_h, mn_h, mx_h= orders.copy(), mn.copy(), mx.copy()



          Coffee county
In [10]: fn = './Data/CVRs/Coffee_CVR_Export_.csv'
         cvr = pd.read_csv(fn, skiprows=3, low_memory=False)


In [11]: cvr.head()
           Case 1:17-cv-02989-AT Document 1629-15
                                          1569-44 Filed 02/13/23
                                                        01/09/23 Page 90 of 91
Out[11]:
                CvrNumber TabulatorNum BatchId RecordId ImprintedId CountingGroup PrecinctPortion

           0            1            71       0   217817        NaN Advance Voting    128-Douglas
            1           2            71       0 833733          NaN Advance Voting     102-Douglas
            2           3            71       0     5428        NaN Advance Voting     104-Broxton
           3            4            71       0 940432          NaN Advance Voting    130-Douglas
           4            5            71       0 834162          NaN Advance Voting     126-Nicholls
           5 rows × 72 columns
In [12]: # extract the record IDs
         ed = cvr[cvr.CountingGroup.isin(['Election Day','Advanced Voting'])]
         len(ed)

           4538
Out[12]:


In [13]: tab_batch = ed[['TabulatorNum','BatchId']].value_counts().reset_index(name='cou
         tab_batch

Out[13]:        TabulatorNum BatchId count
           0               10      0 911
           1                11     0 839
           2              40       0 664
           3               20      0 563
           4              50       0 549
           5               12      0 509
           6              60       0 365
           7              30       0 138

In [14]: file_stem = './Data/CVRs/'
         county = 'coffee'
         orders = {}
         mn = {}
         mx = {}
         with pd.ExcelWriter(file_stem + county + '.xlsx') as write_xl:
             for tn in sorted(tab_batch['TabulatorNum']):
                 dat = ed[ed['TabulatorNum']==tn].copy()
                 orders[tn] = [np.where(icp_sequence == d)[0][0] for d in np.array(dat[
                 dat['sort_order'] = orders[tn]
                 dat = dat.sort_values(by=['sort_order'])
                 dat.to_excel(write_xl, sheet_name=str(tn))
                 n = len(dat)
          Case 1:17-cv-02989-AT Document 1629-15
                                         1569-44 Filed 02/13/23
                                                       01/09/23 Page 91 of 91
                  mn[tn]= np.min(orders[tn])
                  mx[tn] = np.max(orders[tn])
                  m = mx[tn] - mn[tn] + 1
                  print(f'{tn=} {n=} {m=} {n-m == 0} 1st ballot index: {mn[tn]} 1st ballo
                       f' last ballot index: {mx[tn]} last ballot: {icp_sequence[mx[tn]]}

          tn=10 n=911 m=911 True 1st ballot   index: 717213 1st ballot: 677325 last ballot
          index: 718123 last ballot: 877129
          tn=11 n=839 m=839 True 1st ballot   index: 470684 1st ballot: 387668 last ballot
          index: 471522 last ballot: 211150
          tn=12 n=509 m=509 True 1st ballot   index: 648380 1st ballot: 157270 last ballot
          index: 648888 last ballot: 428175
          tn=20 n=563 m=563 True 1st ballot   index: 998410 1st ballot: 157338 last ballot
          index: 998972 last ballot: 417086
          tn=30 n=138 m=138 True 1st ballot   index: 27730 1st ballot: 457790 last ballot
          index: 27867 last ballot: 102568
          tn=40 n=664 m=664 True 1st ballot   index: 317426 1st ballot: 647995 last ballot
          index: 318089 last ballot: 893102
          tn=50 n=549 m=549 True 1st ballot   index: 201351 1st ballot: 237644 last ballot
          index: 201899 last ballot: 194754
          tn=60 n=365 m=365 True 1st ballot   index: 829109 1st ballot: 697856 last ballot
          index: 829473 last ballot: 379044

In [ ]:
